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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

In re:                                            §
                                                  §
GARDEN OAKS MAINTENANCE                           §            CASE NO.        18-60018-H2-11
ORGANIZATION, INC.,                               §
                                                  §
         DEBTOR.                                  §

                      STATEMENT AND RESERVATION OF RIGHTS

TO THE HONORABLE DAVID R. JONES, UNITED STATES BANKRUPTCY JUDGE:

         The Official Committee of Unsecured Creditors of Garden Oaks Maintenance Organization,

Inc. (the “Committee”) files this Statement and Reservation of Rights in connection with Chapter 11 Plan

[ECF 70] (as amended, the “Chapter 11 Plan”) and Disclosure Statement [ECF 68] (as amended, the

“Disclosure Statement”) filed by Garden Oaks Maintenance Organization, Inc. (the “Debtor”).

         The Committee does not support the Debtor’s Chapter 11 Plan. The Committee requests

that the Debtor include the attached letter in the solicitation package for the Debtor’s Chapter 11 Plan

to identify areas of agreement and disagreement between the Debtor and the Committee with respect

to the Debtor’s Chapter 11 Plan.

         The Committee reserves all its rights to object to the Chapter 11 Plan and Disclosure

Statement.
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Dated: January 28, 2019             Respectfully submitted,

                                    DIAMOND McCARTHY LLP

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                                    Counsel to the Official Committee of Unsecured Creditors of
                                    Garden Oaks Maintenance Organization, Inc.




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              Committee’s Letter for Solicitation Package
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                  OFFICIAL COMMITTEE OF UNSECURED CREDITORS
                  OF GARDEN OAKS MAINTENANCE ORGANIZATION

                                            January 28, 2019

Dear Creditors and Homeowners of Garden Oaks:

        The Official Committee of Unsecured Creditors of Garden Oaks Maintenance Organization
Inc. recommends that the creditors and homeowners of Garden Oaks reject the chapter 11 plan (the
“Chapter 11 Plan”) filed by Garden Oaks Maintenance Organization, Inc. (the “Debtor”) for the
following reasons:

   1. Insufficient Distributions to the Creditors. The Debtor’s Chapter 11 Plan provides
      $50,000 in total distributions to the Debtor’s pre-petition creditors even though the Debtor
      has more than $700,000 in available cash. The Committee believes that by providing the
      creditors with only $50,000, the Debtor’s Chapter 11 Plan cannot be confirmed.

   2. Debtor’s Proposed Amendments to Deed Restrictions and Bylaws Are Too Broad.
      While the Committee believe that the Garden Oaks’ deed restrictions and bylaws need to be
      modernized, the Debtor is proposing sweeping changes to the deed restrictions. Some of
      these changes are controversial and unnecessary to accomplish the objective of the bankruptcy
      case. The Committee believes that the amendments to the deed restrictions should be limited
      to the least controversial matters and those matters that are critical for a successful chapter 11
      case. Specifically, the Committee supports amendment to the deed restrictions that provides
      for the following:

           a. Resolve Current Legal Dispute Surrounding Authority to Collect the Mandatory Transfer Fee. The
              Committee supports an amendment to the deed restrictions to convert the current
              transfer fee to $80.00 annual fee per lot.

           b. Permanently Remove Outdated and Unenforceable Racial Restrictions. The Committee supports
              removing the outdated and illegal racial restriction in the deed restrictions.

           c. Lower Approval Threshold to Enact Changes. The Committee supports altering the
              amendment provisions to reduce the threshold necessary to adopt amendments from
              approval by two-thirds (2/3) of all owners to a simple majority of all owners.

       The Committee does not support the other changes proposed by the Debtor that include
       restrictions on running a business in the home, restrictions on garage apartments, new
       architectural restrictions, and the undocumented “grandfathering” and acceptance of any
       existing violations on the day the Debtor’s Chapter 11 Plan takes effect.

       Furthermore, the Committee does not support the changes proposed by the Debtor in the
       deed restrictions and the bylaws that are designed to give the Debtor’s Board of Directors
       more discretion on how they enforce the deed restrictions. For example, the Debtor is
       proposing giving the Board authority to grant variances that will excuse someone from
       violating the deed restrictions The Committee believes that giving the Board more discretion
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       on enforcing the deed restrictions is unfair. The deed restrictions should be enforced equally
       and no special treatment should be provided to any homeowner.

   3. Debtor’s Chapter 11 Plan May Continue the Dispute Surrounding the Transfer Fee.
      The Debtor filed its bankruptcy case because the Debtor received a negative state court ruling
      finding that the Debtor lacks the authority to require the payment of the transfer fee. The
      Debtor has taken the position that if the Chapter 11 Plan fails then the transfer fee will remain.
      The Debtor’s Chapter 11 Plan does not address what will happen with the transfer fee if the
      homeowners do not approve the Debtor’s proposed amended and restated deed restrictions.
      The Committee believes that any Chapter 11 Plan should make clear that the Debtor will no
      longer collect the transfer fee regardless of whether an amendment to the deed restrictions is
      adopted.

The Committee is filing a Chapter 11 Plan that the Committee believes is confirmable and will address
the foregoing problems with the Debtor’s Chapter 11 Plan. The Committee recommends that the
creditors and homeowners of Garden Oaks reject to the Debtor’s Chapter 11 Plan for the reasons
stated herein.

                                                       Respectfully submitted,

                                                       Peter Shun-Hsien Chang
                                                       Cheryl Luck
                                                       Patricia Mehrkam
                                                       Gary C. Ingram

                                                       As Members of the Committee




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